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                                                        - 970 -
                                  Nebraska Supreme Court A dvance Sheets
                                          298 Nebraska R eports
                          PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                                           Cite as 298 Neb. 970



                              Platte R iver Whooping Crane M aintenance
                                 Trust, Inc., appellant, v. H all County
                                   Board of Equalization, appellee.
                                                   ___ N.W.2d ___

                                        Filed February 9, 2018.   No. S-17-389.

                1.	 Taxation: Judgments: Appeal and Error. Appellate courts review
                    decisions rendered by the Tax Equalization and Review Commission for
                    errors appearing on the record.
                2.	 Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, an appellate court’s inquiry is whether the deci-
                    sion conforms to the law, is supported by competent evidence, and is
                    neither arbitrary, capricious, nor unreasonable.
                3.	 Taxation: Statutes: Appeal and Error. The meaning of a statute is a
                    question of law, and a reviewing court is obligated to reach its conclu-
                    sions independent of the determination made by the Tax Equalization
                    and Review Commission.
                4.	 Taxation: Charities. A tax exemption for charitable use is allowed
                    because those exemptions benefit the public generally and the orga-
                    nization performs services which the state is relieved pro tanto from
                    performing.

                 Appeal from the Tax Equalization and Review Commission.
               Reversed and remanded with directions.

                 Jordan W. Adam, of Fraser Stryker P.C., L.L.O., for
               appellant.

                    Timothy L. Moll, of Rembolt Ludtke, L.L.P., for appellee.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, K elch, and
               Funke, JJ.
                            - 971 -
          Nebraska Supreme Court A dvance Sheets
                  298 Nebraska R eports
      PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                       Cite as 298 Neb. 970
  K elch, J.
                     NATURE OF CASE
   The issue presented is whether the Platte River Whooping
Crane Maintenance Trust, Inc. (Crane Trust), is a char-
itable organization within the meaning of Neb. Rev. Stat.
§ 77-202(1)(d) (Cum. Supp. 2014).
                        BACKGROUND
                  A pplication for Exemption
   The Crane Trust is a nonprofit corporation dedicated to
conserving and protecting the natural habitat for whooping
Cranes, sandhill Cranes, and other migratory birds along the
Platte River in central Nebraska. For the last decade, the
Hall County Board of Equalization (Board) granted a chari-
table tax exemption under § 77-202(1)(d) to various properties
owned by the Crane Trust. In December 2014, the Crane Trust
sought a property tax exemption for six additional parcels
of land (Subject Properties). The Subject Properties consist
of 829.68 acres of land and carry a property tax liability of
approximately $22,000 for 2015, the tax year in question. At
that time, the Board denied the Crane Trust’s application for
a property tax exemption for the Subject Properties. There is
no explanation in the record as to why the Board granted tax
exemption to some of the Crane Trust’s properties, but not to
the Subject Properties.
   The Crane Trust appealed to the Nebraska Tax Equalization
and Review Commission (TERC). A hearing was held, dur-
ing which the Crane Trust presented evidence about its edu-
cational efforts, contributions to the scientific community,
and other benefits to the public. The evidence was largely
undisputed.
               Evidence Presented at Hearing
   The Crane Trust presented evidence showing that its con-
servation efforts benefit the thousands of people who visit
its property each year to observe the crane migration, learn
about the prairie, and interact with nature. The Crane Trust
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
      PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                       Cite as 298 Neb. 970
provides free public tours during crane season, and its prop-
erty is open year round at no charge to the public. The Crane
Trust also has a large network of public trails, which are used
by the public for exercise and for an annual cross-country race
for a local high school.
   Students, researchers, and scientists from all across the
country visit the Crane Trust to perform scientific research
on the Subject Properties every week. The Crane Trust also
performs research on the land and has published more than 30
articles in the past decade, which are available to the public for
free. Some of the articles come from research that the Crane
Trust performed on the Subject Properties in 2015.
   The Crane Trust also provides educational activities to teach
the public about habitat and conservation. It posts informa-
tional signs along its trails and hosts a program for public
schools in which students visit its property every month to
study the plants, wildlife, insects, and habitat with the help of
a Crane Trust biologist.
   The evidence also showed that a portion of the Subject
Properties was leased to a farming operation for cattle graz-
ing, for which the Crane Trust received $9,300. The Crane
Trust’s chief executive officer testified that the lease money
was not distributed to its members, directors, officers, or any-
one else and that the cost of managing the Subject Properties
far exceeded the amount of lease money. The chief executive
officer testified that the cattle grazing was part of the Crane
Trust’s habitat management program—that the grazing and
hoof compaction on the soil provides a natural disturbance on
the grassland that helps promote and sustain different species
on the parcels, cycle nutrients on the prairie, open up the grass-
land for the crane to use, and keep invasive species of plants
at bay.
                   TERC A ffirms Board’s
                    Denial of Exemption
   Following the hearing, TERC affirmed the Board’s deci-
sion to deny tax exemption to the Subject Properties. It stated
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
           PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                            Cite as 298 Neb. 970
that the issue was whether the term “charitable organization”
in the relevant statute was broad enough to include an orga-
nization devoted to protecting natural habitat. It concluded
that although the Crane Trust provides educational, scientific,
and recreational benefits to the public, Nebraska courts have
limited charitable exemptions to “traditional charitable enter-
prises providing relief [to] the poor and distressed.” Therefore,
it concluded that the policy question of whether to expand
the definition to include conservation efforts must be left to
the Legislature.
   TERC found that the Crane Trust provided some level of
mental, social, and physical benefits to the public, but ulti-
mately determined that it was not a charitable organization
because § 77-202(1)(d) has never been applied to conservation
groups or activities.
   The Crane Trust now appeals from TERC’s decision.
                  ASSIGNMENT OF ERROR
   The Crane Trust assigns that TERC erred in affirming
the Board’s decision to deny tax exemption for the Subject
Properties for the 2015 tax year.
                  STANDARD OF REVIEW
   [1-3] Appellate courts review decisions rendered by TERC
for errors appearing on the record.1 When reviewing a judg-
ment for errors appearing on the record, an appellate court’s
inquiry is whether the decision conforms to the law, is sup-
ported by competent evidence, and is neither arbitrary, capri-
cious, nor unreasonable.2 The meaning of a statute is a ques-
tion of law, and a reviewing court is obligated to reach its
conclusions independent of the determination made by the Tax
Equalization and Review Commission.3

 1	
      Cain v. Custer Cty. Bd. of Equal., 291 Neb. 730, 868 N.W.2d 334 (2015).
 2	
      Id. 3	
      Creighton St. Joseph Hosp. v. Tax Eq. &amp; Rev. Comm., 260 Neb. 905, 620
      N.W.2d 90 (2000).
                                    - 974 -
                 Nebraska Supreme Court A dvance Sheets
                         298 Nebraska R eports
           PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                            Cite as 298 Neb. 970
                            ANALYSIS
   The Nebraska Constitution authorizes the Legislature to
exempt from taxes “property owned and used exclusively
for educational, religious, charitable, or cemetery purposes,
when such property is not owned or used for financial gain or
profit to either the owner or user.”4 Pursuant to this authority,
the Legislature adopted a statute that exempts from prop-
erty taxes:
      Property owned by educational, religious, charitable, or
      cemetery organizations, or any organization for the exclu-
      sive benefit of any such educational, religious, charitable,
      or cemetery organization, and used exclusively for educa-
      tional, religious, charitable, or cemetery purposes, when
      such property is not (i) owned or used for financial gain
      or profit to either the owner or user, (ii) used for the sale
      of alcoholic liquors for more than twenty hours per week,
      or (iii) owned or used by an organization which discrimi-
      nates in membership or employment based on race, color,
      or national origin.5
   The parties stipulated that the Subject Properties were not
used for the sale of alcohol and were not owned or used by an
organization which discriminates in membership or employ-
ment based on race, color, or national origin. Furthermore, the
Crane Trust applied for exemption as a charitable organization;
it does not argue that it qualifies as an educational, religious, or
cemetery organization. Thus, the issues are limited.
   For Crane Trust to be entitled to a property tax exemption
for its six parcels, it must show (1) that the parcels are owned
by a charitable organization; (2) that the parcels are used
exclusively for educational; religious, charitable, or cemetery
purposes; and (3) that the parcels were not owned or used
for financial gain or profit to either the owner or user. TERC
concluded that the Crane Trust failed to show the parcels were

 4	
      Neb. Const. art. VIII, § 2.
 5	
      § 77-202(1)(d).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
           PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                            Cite as 298 Neb. 970
owned by a charitable organization and thus did not address
the other two requirements.

                     Nature of Organization
   In concluding that the Crane Trust was not a charitable
organization, TERC noted that the Supreme Court has never
held that a conservation group may fit within the definition of
“charitable organization” under § 77-202. While true, we have
also never considered it.
   Section 77-202(1)(d) provides that a “charitable organiza-
tion means an organization operated exclusively for the pur-
pose of the mental, social, or physical benefit of the public
or an indefinite number of persons.” Applying this statutory
language, TERC acknowledged that the Crane Trust’s conser-
vation efforts provided mental, social, and physical benefits
to the public, but concluded, without explanation, that the
Subject Properties were not operated exclusively for those
purposes.
   We conclude that TERC’s finding that the Crane Trust did
not operate exclusively for the public’s benefit is not supported
by the evidence. The term “exclusively” means the primary
or dominant use of the property is controlling in determining
whether the property is exempt from taxation.6 And as TERC
noted, the Crane Trust adduced considerable evidence of its
efforts to provide educational, scientific, and recreational ben-
efits to the general public. The evidence shows that the Crane
Trust’s efforts to protect the natural habitat for migratory birds
ensures that the public can continue to enjoy and learn about
that habitat and birds and wildlife thereon.
   Additionally, the evidence shows that the Crane Trust is
engaged in numerous endeavors to educate the public about the
habitat, the wildlife on the habitat, and conservation in general.
The Crane Trust’s land, including the Subject Properties, is

 6	
      See Fort Calhoun Bapt. Ch. v. Washington Cty. Bd. of Eq., 277 Neb. 25,
      759 N.W.2d 475 (2009).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
           PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                            Cite as 298 Neb. 970
also open for and subject to scientific study. While the Board
argues that the evidence discussed in this paragraph is irrel-
evant, because the Crane Trust is not applying for exemption as
an educational organization, we disagree. We find this evidence
relevant to whether the Crane Trust is providing a mental ben-
efit to the public. “‘[M]ental’” means “‘intellectual,’” which in
turn means, among other things, “‘engaged in creative literary,
artistic, or scientific labor.’”7
   After reviewing the evidence, we conclude that the Crane
Trust operated exclusively for the purpose of the mental,
social, or physical benefit of the public.
   [4] TERC found, and the Board argues, that the Legislature
did not intend for conservation groups to be considered a
“charitable organization” under § 77-202(1)(d). Although we
appreciate TERC’s deference to the Legislature, we respect-
fully disagree. A tax exemption for charitable use is allowed
because those exemptions benefit the public generally and the
organization performs services which the state is relieved pro
tanto from performing.8 In Neb. Rev. Stat. § 37-803 (Reissue
2016) of the Nongame and Endangered Species Conservation
Act, the Legislature declared that the “state shall assist in the
protection of [certain] species of wildlife and wild plants which
are determined to be threatened or endangered” and that “it
is the policy of this state to conserve species of wildlife for
human enjoyment” and other purposes. Because the Legislature
views the conservation of endangered species as a policy of the
state, and conservation groups like the Crane Trust relieve the
state of that burden, we conclude that the Legislature intended
for those groups, provided they otherwise meet “charitable
organization” criteria, to be considered “charitable organiza-
tions” under § 77-202(1)(d).

 7	
      Neb. State Bar Found. v. Lancaster Cty. Bd. of Equal., 237 Neb. 1, 15, 465
      N.W.2d 111, 120 (1991).
 8	
      Bethesda Found. v. Buffalo Cty. Bd. of Equal., 263 Neb. 454, 640 N.W.2d
      398 (2002).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
           PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                            Cite as 298 Neb. 970
   Our decision is supported by several other states’ inter-
pretations of similar statutes. For example, in Francis Small
Heritage v. Town of Limington,9 the Maine Supreme Judicial
Court held that a conservation group qualified as a charitable
organization because the organization lessened the burdens
of the government by assisting the state in achieving its con-
servation policy goals. The Maine court concluded that the
Legislature enunciated a strong public policy in favor of con-
servation when it declared in a section of its Natural Resources
Protection Act that the state’s wetlands and wildlife habitat are
“‘resources of state significance’” and that they benefit the
state’s citizens.10
   And in Turner v. Trust for Public Land,11 a Florida court
concluded that a conservation group qualified as a charitable
organization because there was “little question that conserva-
tion serves a public purpose” where Florida’s state constitution
provided that it was “‘the policy of the state to conserve and
protect its natural resources and scenic beauty . . . .’” A number
of other states, using rationale similar to that in Francis Small
Heritage and Turner, have also concluded that conservation
organizations may qualify as charitable organizations.12
                   Use of Subject Properties
   In addition to showing that the Subject Properties are owned
by a charitable organization, the Crane Trust must also show
that the Subject Properties are used exclusively for educational,
religious, charitable, or cemetery purposes.13

 9	
      Francis Small Heritage v. Town of Limington, 98 A.3d 1012 (Me. 2014).
10	
      Id. at 1020.
11	
      Turner v. Trust for Public Land, 445 So. 2d 1124, 1126 (Fla. App. 1984).
12	
      See, New England Forestry v. Board of Assessors, 468 Mass. 138, 9
      N.E.3d 310 (2014); Pecos River Open Spaces, Inc. v. Cnty. of San Miguel,
      2013 NMCA 029, ___ P.3d ___ (2013); Little Miami v. Kinney, 68 Ohio
      St. 2d 102, 428 N.E.2d 859 (1981); Mohonk Trust v. Assessors, 47 N.Y.2d
      476, 392 N.E.2d 876, 418 N.Y.S.2d 763 (1979).
13	
      See Lincoln Woman’s Club v. City of Lincoln, 178 Neb. 357, 133 N.W.2d
      455 (1965).
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
           PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                            Cite as 298 Neb. 970
   In this case, the Crane Trust’s status as a charitable organi-
zation and its use of the Subject Properties are closely related
issues. For this reason, the parties largely repeat their argu-
ments or incorporate them by reference. For the same reasons
that we found the Crane Trust qualified as a charitable orga-
nization, we find that the Subject Properties were used exclu-
sively for charitable purposes.
                    Financial Gain or Profit
   Finally, the Crane Trust must show that the Subject
Properties were not owned or used for financial gain or profit
to either the owner or user. The Board argues that the Subject
Properties were used for financial gain or profit solely because
the Crane Trust entered into a lease agreement for cattle graz-
ing with a farming operation for $9,300. However, the fact
that income is generated as a result of an exempt use of the
property does not make the property taxable.14 Property is not
used for financial gain or profit to either the owner or user if
no part of the income from the property is distributed to the
owners, users, members, directors, or officers, or to private
individuals.15
   Here, the evidence showed that the lease money was not
distributed to its owners, users, members, directors, officers,
or anyone else, and that the cost of managing the Subject
Properties far exceeded the amount of lease money. Although
there was some evidence that the cattle grazing furthered the
Crane Trust’s habitat management program, even if it did not,
the use of the land for cattle grazing was incidental to the
Crane Trust’s primary purpose of conserving and protecting the
natural habitat for migratory birds and wildlife for the public’s
benefit. We therefore conclude that the Subject Properties were
not owned or used for financial gain or profit to either the
owner or user.

14	
      Neb. Unit. Meth. Ch. v. Scotts Bluff Cty. Bd. of Equal., 243 Neb. 412, 499
      N.W.2d 543 (1993).
15	
      Fort Calhoun Bapt. Ch., supra note 6.
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
      PLATTE RIVER CRANE TRUST v. HALL CTY. BD. OF EQUAL.
                       Cite as 298 Neb. 970
   Because the Subject Properties meet the requirements for a
charitable tax exemption under § 77-202(1)(d), we conclude
that they are entitled to exemption for the tax year in question.
We therefore reverse TERC’s decision and remand the cause
for an order in accordance with this opinion.
                         CONCLUSION
   For the reasons set forth above, we reverse TERC’s deci-
sion and remand the cause for TERC to enter an order that
the Subject Properties are entitled to a property tax exemption
under the provisions of § 77-202(1)(d).
                     R eversed and remanded with directions.
   Wright, J., not participating.
   Cassel, J., dissents.
